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Attorneys for Defendants and Counterclaim Plaintiffs

PIPELI

E RESTORATION PLUMBING, INC. et. al.

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

PIPE RESTORATION
TECHNOLOGIES, LLC., a Nevada
Limited Liability Company, ACE
DURAFLO SYSTEMS, LLC, a
Nevada Limited Liability Company;
and PIPE RESTORATION, INC., a
California Corporation,

Plaintiffs,
Vv.

PIPELINE RESTORATION
PLUMBING, INC., a California
Corporation f/k/a/ COAST
BUILDING & PLUMBING, INC.
d/b/a PIPELINE RESTORATION,
PIPELINE RESTORATION
SERVICES, and PIPELINE
RESTORATION SERVICES, INC.;
ROY TERRY, an individual; and
DOES] through 10, inclusive,

Defendants.

AND RELATED COUNTERCLAIMS

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Case No. SACV 13-00499 CJC (RNBx)

ANSWER AND COUNTERCLAIM
TO FIRST AMENDED
COMPLAINT FOR INJUNCTION
AND DAMAGES

DEMAND FOR JURY TRIAL

DEFENDANTS’ ANSWER AND COUNTERCLAIM
TO FIRST AMENDED COMPLAINT

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Defendants, PIPELINE RESTORATION PLUMBING, INC. f/k/a as COAST
BUILDING & PLUMBING, INC. d/b/a PIPELINE RESTORATION, PIPELINE
RESTORATION SERVICES, PIPELINE RESTORATION SERVICES, INC. and
ROY TERRY (collectively, “Defendants’”), hereby provide the following answer to
the First Amended Complaint filed by Plaintiffs, PIPE RESTORATION
TECHNOLOGIES, LLC, ACE DURAFLO SYSTEMS, LLC, and PIPE
RESTORATION, INC. (collectively, “Plaintiffs’):

JURISDICTION AND VENUE

1. Defendants admit the allegations in Paragraph 1.
2. Defendants admit the allegations in Paragraph 2.
THE PARTIES
3. With respect to Paragraph 3 of the Complaint, Defendants are without

knowledge or information sufficient to admit or deny the allegations in the
paragraph and, therefore, denies each and every such allegation.

4, With respect to Paragraph 4 of the Complaint, Defendants are without
knowledge or information sufficient to admit or deny the allegations in the
paragraph and, therefore, denies each and every such allegation.

5. With respect to Paragraph 5 of the Complaint, Defendants are without
knowledge or information sufficient to admit or deny the allegations in the
paragraph and, therefore, denies each and every such allegation.

6. Defendants admit the allegations in Paragraph 6 as to the principal
place of business address and that Pipeline Restoration Plumbing, Inc. was formerly
known as Coast Building & Plumbing, Inc. and does business as “Pipeline
Restoration.” Defendants deny ever doing business as “Pipeline Restoration
Services, Inc.”

7. Defendants admit that Mr. Roy Terry is the owner and President of
Pipeline Restoration Plumbing, Inc. With respect to the remaining allegations of
Paragraph 7, Defendants find the term “all aspects” to be vague and therefore denies

2 DEFENDANTS’? ANSWER AND COUNTERCLAIM
TO FIRST AMENDED COMPLAINT

Case 8:13-cv-00499-JDE bocument 8 Filed 05/31/13 Page 2 of 13 Page ID #:40

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the remaining allegations in paragraph 7.

8. The allegations of Paragraph 8 do not call for a response from
Defendants. If one is required, Defendants hereby deny any allegation of fact
contained in Paragraph 8.

9. Defendants deny the allegations of Paragraph 9.

10. Defendants deny the allegations of Paragraph 10.

PLAINTIFF’S BUSINESS
11. Answering Paragraph 11, Defendants admit that the Plaintiff is in the

pipe restoration business. Defendants have insufficient information to form a belief
as to the veracity of the remaining allegations of Paragraph 11 and therefore denies
the allegation therein.

12. With respect to Paragraph 12 of the Complaint, Defendants are without
knowledge or information sufficient to admit or deny the allegations in the
paragraph and, therefore denies the allegation therein.

13. With respect to Paragraph 13 of the Complaint, Defendants are without
knowledge or information sufficient to admit or deny the allegations in the
paragraph and, therefore denies the allegation therein.

14. With respect to Paragraph 14 of the Complaint, Defendants are without
knowledge or information sufficient to admit or deny the allegations in the
paragraph and, therefore denies the allegation therein.

15. Defendants deny the allegations in Paragraph 15.

DEFENDANTS’ BUSINESS, INFRINGEMENT AND FALSE ADVERTISING

16. With respect to Paragraph 16 of the Complaint, Defendants admit that

it is in the pipe restoration business. Except as admitted, Defendants deny each and
every remaining allegation of Paragraph 16.

17. Defendants deny the allegations in Paragraph 17.

18. With respect to Paragraph 18 of the Complaint, Defendants admit that
Plaintiff PRT filed a lawsuit against Defendants on February 22, 2011. Except as

3 DEFENDANTS’ ANSWER AND COUNTERCLAIM
TO FIRST AMENDED COMPLAINT

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| | admitted Defendants deny each and every remaining allegation of Paragraph 18.
2 19. Defendants deny the allegations in Paragraph 19.
3 20. Defendants deny the allegations in Paragraph 20.
4 21. Defendants deny the allegations in Paragraph 21.
5 22. Defendants deny the allegations in Paragraph 22.
6 23. Defendants deny the allegations in Paragraph 23.
7 24. Defendants deny the allegations in Paragraph 24.
8 25. Defendants deny the allegations in Paragraph 25.
9 26. Defendants deny the allegations in Paragraph 26.
10 FIRST CLAIM FOR RELIEF
11 (Patent Infringement [‘579 Patent])
12 27. Defendants reallege each and every answer set for in Paragraphs 1
13 | through 26 inclusive, and incorporates them by this reference.
14 28. Defendants deny the allegations in Paragraph 28.
15 29. Defendants deny the allegations in Paragraph 29.
16 30. Defendants deny the allegations in Paragraph 30.
17 31. Defendants deny the allegations in Paragraph 31.
18 32. Defendants deny the allegations in Paragraph 32.
19 SECOND CLAIM FOR RELIEF
20 (Federal Unfair Competition — 15 U.S.C. § 1125)
21 33. Defendants reallege each and every answer set for in Paragraphs 1
22 | through 26 inclusive, and incorporates them by this reference.
23 34. Defendants deny the allegations in Paragraph 34.
24 35. Defendants deny the allegations in Paragraph 35.
25 THIRD CLAIM FOR RELIEF
26 (California Business And Professions Code §§ 17200 et seq. and 17500)
27 36. Defendants reallege each and every answer set for in Paragraphs 1
28 | through 26 inclusive, and incorporates them by this reference.

TO FIRST AMENDED COMPLAINT

4 DEFENDANTS’ ANSWER AND COUNTERCLAIM
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37. Defendants deny the allegations in Paragraph 37.

38. Defendants deny the allegations in Paragraph 38.

39. Defendants deny the allegations in Paragraph 39.
DEMAND FOR JURY TRIAL

40. Defendants hereby demand a trial by jury on all claims and defenses

DEFENDANTS’ AFFIRMATIVE DEFENSES

Upon information and belief, Defendants allege as follows in affirmative
defense of the allegations set forth in the Complaint:

FIRST AFFIRMATIVE DEFENSE
(Patent Invalidity)

41. U.S. Patent No. 8,343,579 (“the 579 Patent”) and, all of the claims
thereof, are invalid under Title 35 of the United States Code, §101, §102, §103
and/or §112, including as more specifically one or more of the following reasons:

. a. The alleged invention of the ‘579 was known or used by others
in this country before the invention thereof by the applicant for the ‘579 Patent (35
U.S.C. §102(a));

b. The alleged invention of the ‘579 Patent was patented, or in
public use, or on sale in this country, more than one year prior to the day the
application for the patent in the United States (35 U.S.C. § 102(b)));

c. The applicant for the ‘579 Patent did not themselves invent the
subject matter patented (35 U.S.C. §102(f);

d. Before the applicant’s alleged invention thereof, the invention
was made in this county by another who had not abandoned, suppressed or
concealed it (35 U.S.C. § 102(g));

€. The differences between the subject matter patented and the prior
art are such that the subject matter as a whole would have been obvious at the time
the alleged invention was made to a person having ordinary skill in the art to which
the said subject matter pertains (U.S.C § 103).

5 DEFENDANTS’ ANSWER AND COUNTERCLAIM
TO FIRST AMENDED COMPLAINT

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f. The applicants failed to disclose the best mode of invention as
required by (35 U.S.C. §112), resulting in an inadequate specification.
SECOND AFFIRMATIVE DEFENSE
(Non-Infringement)

42. Defendants have not infringed, directly or indirectly, and is not now
infringing any valid claim of the ‘579 Patent.

43. The Plaintiffs claims against the Defendants are barred given that no
patent infringement exists on the facts or circumstances of the case under §271.

44, No valid claim of the ‘579 Patent literally or equivalently covers or
includes within its scope any products and/or services ever made, used, offered for
sale, or sold by the Defendants.

45. Furthermore, Defendants have not done any act nor proposes to do any
act in violation of any rights Plaintiff may have in the ‘579 Patent, if any at all, nor
to cause any other person and/or entity to violate any rights Plaintiff may have in the
‘579 Patent, if any at all.

THIRD AFFIRMATIVE DEFENSE
(Laches, Waiver, Acquiescence, or Estoppel)

46. Plaintiff's remedies with respect to the ‘579 Patent are barred by the

doctrines of laches, waiver, acquiescence, and/or estoppels.
FOURTH AFFIRMATIVE DEFENSE
(Misuse)

47. Upon information and belief, Plaintiff has misused the ‘579 Patent by
the maintenance of this action, in bad faith, when it should have known that the
patent was invalid or that it had no valid claim of patent infringement against the
Defendants.

FIFTH AFFIRMATIVE DEFENSE
(Equitable Relief Barred)
48. Any claim for injunctive relief and equitable remedies by the Plaintiff

6 DEFENDANTS’ ANSWER AND COUNTERCLAIM
TO FIRST AMENDED COMPLAINT

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are barred in light of the fact that the Plaintiff has an adequate remedy at law.
SIXTH AFFIRMATIVE DEFENSE
(Inequitable Conduct- 35 USC 282(1))

49. The ‘579 Patent and all of its claims thereof, are rendered
unenforceable against the Defendants due to the Plaintiffs inequitable conduct
pursuant to 37 CFR §1.56. In particular, the Plaintiff failed to properly disclose all
material information known to it in the prosecution and procurement of the ‘579
Patent. Upon information and belief, Plaintiff practiced the invention disclosed in
the °579 patent more than one year prior to its earliest priority filing date. In
particular, Defendants believe Plaintiff publicly used the pipe restoration
method/process as disclosed in the ‘579 patent in and around January-March 2000 at
several hotels including the MayFlower Park Hotel and Pacific Plaza Hotels in
Seatlle; Vancouver’s 385 Room (Four Seasons Hotel). In addition, upon
information and belief, Plaintiff ACE DuraF lo publicly disclosed and used the pipe
restoration system/method disclosed in the ‘579 patent more than one year prior to
its earliest priority filing date through a company called ACE Envirotech, Inc. which
was founded by the Plaintiffs. Thus, at the time of the filing of the ‘579 patent
application, Plaintiffs’ knew that it had already publicly disclosed and used the ‘579
patent pipe restoration method/process at least a year before the ‘579 patent
application filing thereby intentionally violating 35 U.S.C. §102(b). Plaintiffs
intentionally withheld this public disclosure and use information in order to defraud
the Patent Office into issuing the ‘579 Patent to the Plaintiffs.

Upon information and belief, Plaintiffs’ also intentionally withheld
information that was material to the patentability of the ‘579 patent. In particular,
one of the ‘579 inventors, Mr. Larry Gillanders, was selling licenses to an
“InterTechno LSE-SYSTEM” which was a system for the renovation of in-place
piping systems in and around 1998 in Vancouver. As part of this, Mr. Gillanders
knew and had correspondence with Mr. Werner Naf who was the inventor of

7 DEFENDANTS’ ANSWER AND COUNTERCLAIM
TO FIRST AMENDED COMPLAINT

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InterTechno LSE-System. Upon information and belief, Mr. Gillanders received
documentation regarding the InterTechno LSE pipe restoration system/method
which would have been considered material to the ‘579 patentability and
intentionally withheld such information from the patent office which violated 37
CFR 1.56.
SEVENTH AFFIRMATIVE DEFENSE
(Inadequate Notice)

50. Upon information and belief, Plaintiff's claims for patent infringement,
including damages, are barred in whole or in part, or limited, by its failure to
provide adequate notice under 35. U.S.C. §287.

EIGHTH AFFIRMATIVE DEFENSE

(Failure to State a Claim)
51. Plaintiff has failed to state a claim upon which relief may properly be
granted.
NINTH AFFIRMATIVE DEFENSE
(Express or Implied License)
52. Plaintiffs claims for patent infringement against Defendants are
precluded to the extent that any allegedly infringing products are supplied, directly

or indirectly to the Defendants resulting in an express or implied license.

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8 DEFENDANTS’ ANSWER AND COUNTERCLAIM
TO FIRST AMENDED COMPLAINT

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COUNTERCLAIMS
Counterclaim Plaintiffs, PIPELINE RESTORATION PLUMBING, INC., a
California Corporation, f/k/a COAST BUILDING & PLUMBING, INC., d/b/a
PIPELINE RESTORATION SERVICES, and ROY TERRY, an individual,

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(“hereby “Counterclaim Plaintiffs”) hereby state that following for its
Counterclaims against Counterclaim Defendants, PIPE RESTORATION
TECHNOLOGIES, LLC, ACE DURAFLO SYSTEMS, LLC, and PIPE
RESTORATION, INC. (hereby collectively, “Counterclaim Defendants”):

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PARTIES AND JURISDICTION

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1. Counterclaim Plaintiff Pipeline Restoration Plumbing, Inc. is a

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California corporation;

2. Counterclaim Plaintiff Roy Terry is an individual residing in

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California;

3. Counterclaim Defendant Pipe Restoration Technologies, LLC is a

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Nevada Limited Liability Company;

4. Counterclaim Defendant Ace Duraflo Systems, LLC is a Nevada

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Limited Liability Company;

5. Counterclaim Defendant Pipe Restoration, Inc. is a California

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Corporation;

6. This Court has jurisdiction over these counterclaims under 28 U.S.C.

No
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§§1331, 1338(a) and 2201, in that the counterclaims for declaratory relief under 28

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No

U.S.C. §§2201 and 2202 assert substantial federal claims for a patent controversy

NO
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under the Patent Statutes, 35 United States Code, and pursuant to the supplemental

NO
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jurisdiction of this Court under 28 U.S.C. § 1367, in that the counterclaims relate to

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the same case or controversy and is joined with and in response to the Complaint.

7. Venue is proper under 28 U.S.C. §1391 and 1400(b).

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9 DEFENDANTS’ ANSWER AND COUNTERCLAIM

TO FIRST AMENDED COMPLAINT

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COUNT I
(DECLARATORY JUDGMENT FOR INVALIDITY OF THE ‘579 PATENT)
8. Counterclaim Plaintiffs hereby incorporate and reallege Paragraphs 1-7.

9. The ‘579 Patent, and more particularly the claims of the ‘579 Patent
alleged to be infringed, are invalid for failure to comply with one or more
requirements set forth in 35 U.S.C., including but not limited to §101, §102, §103
and/or §112.

COUNT II
(DECLARATORY JUDGMENT FOR
UNENFORCEABILITY OF THE ‘579 PATENT)

10. Counterclaim Plaintiffs hereby incorporate and reallege Paragraphs 1-9.

11. The ‘579 patent is unenforceable because the Counterclaim
Defendants’ failure to properly comply with their duty of disclosure under 37 CFR
$1.56 to the Patent Office during the prosecution and procurement of the ‘579
Patent. The ‘579 Patent and all of its claims thereof, are rendered unenforceable
against the Counterclaim Plaintiffs due to the Counterclaim Defendants’ inequitable
conduct pursuant to 37 CFR §1.56. In particular, Counterclaim Defendants failed to
properly disclose all material information known to it in the prosecution and
procurement of the ‘579 Patent. Upon information and belief, Counterclaim
Defendants’ practiced the invention disclosed in the 579 patent more than one year
prior to its earliest priority filing date. In particular, Counterclaim Plaintiffs believe
Counterclaim Defendants publicly used the pipe restoration method/process as
disclosed in the ‘579 patent in and around January-March 2000 at several hotels
including the MayFlower Park Hotel and Pacific Plaza Hotels in Seatlle;
Vancouver’s 385 Room (Four Seasons Hotel). In addition, upon information and
belief, Counterclaim Defendant Plaintiff ACE DuraFlo publicly disclosed and used
the pipe restoration system/method disclosed in the ‘579 patent more than one year
prior to its earliest priority filing date through a company called ACE Envirotech,

10 DEFENDANTS’ ANSWER AND COUNTERCLAIM
TO FIRST AMENDED COMPLAINT

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Inc. which was founded by the Counterclaim Defendants. Thus, at the time of the
filing of the ‘579 patent application, Counterclaim Defendants knew that it had
already publicly disclosed and used the ‘579 patent pipe restoration method/process
at least a year before the ‘579 patent application filing thereby intentionally
violating 35 U.S.C. §102(b). Counterclaim Defendants intentionally withheld this
public disclosure and use information in order to defraud the Patent Office into
issuing the ‘579 Patent to the Counterclaim Defendants.

Upon information and belief, Counterclaim Defendants also intentionally
withheld information that was material to the patentability of the ‘579 patent. In
particular, one of the ‘579 inventors, Mr. Larry Gillanders, was selling licenses to an
“InterTechno LSE-SYSTEM” which was a system for the renovation of in-place
piping systems in and around 1998 in Vancouver. As part of this, Mr. Gillanders
knew and had correspondence with Mr. Werner Naf who was the inventor of
InterTechno LSE-System. Upon information and belief, Mr. Gillanders received
documentation regarding the InterTechno LSE pipe restoration system/method
which would have been considered material to the 579 patentability and
intentionally withheld such information from the patent office which violated 37
CFR 1.56.

COUNT IJ
(DECLARATORY JUDGMENT FOR
NON-INFRINGEMENT OF THE ‘579 PATENT)

12. Counterclaim Plaintiffs hereby incorporate and reallege Paragraphs 1-
11.

13. An actual and justiciable controversy exists between Counterclaim
Plaintiffs and Counterclaim Defendants involving the allegations of Patent
Infringement of the ‘579 Patent by Counterclaim Plaintiffs’ products and services.

14. Counterclaim Plaintiffs are thus entitled to a declaratory judgment
declaring that their products and services do not infringe any of the claims of the

1] DEFENDANTS’ ANSWER AND COUNTERCLAIM
TO FIRST AMENDED COMPLAINT

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‘579 Patent.

PRAYER FOR RELIEF
WHEREFORE, Defendants/Counterclaim Plaintiffs pray and respectfully

request that:

A. . The Plaintiffs’ Complaint be dismissed with prejudice, and Plaintiffs
take nothing by way of their Complaint;

B. Judgment be entered declaring that the ‘579 is invalid and/or
unenforceable;

C. Judgment be entered in favor of Defendants/Counterclaim Plaintiffs
declaring that Defendants/Counterclaim Plaintiffs are not now infringing and have
not in the past infringed the ‘579 Patent.

D. — A permanent injunction be entered enjoining Plaintiffs/Counterclaim
Defendants and all of their officers, directors, employees, servants, affiliates,
partners, and agents, and all those persons or entities in active concert or
participation with any of them, from violating Defendants/Counterclaim Plaintiffs’
rights by way of accusing Defendants/Counterclaim Plaintiffs, their dealers and/or
customers of infringing or otherwise violating the ‘579 Patent.

E. The Plaintiffs/Counterclaim Defendants be enjoined from instituting,
prosecuting, or threatening to bring any civil action or proceeding of any nature
whatsoever based upon said patents against anyone, including
Defendants/Counterclaim Plaintiffs.

F. An order to the United States Patent & Trademark Office requiring the
cancellation the ‘579 Patent Registration.

G. An award be entered in favor of Defendants/Counterclaim Plaintiffs for
reasonable attorneys’ fees pursuant to 35 U.S.C. §285 and costs incurred in this civil
action; and

12 DEFENDANTS’ ANSWER AND COUNTERCLAIM
TO FIRST AMENDED COMPLAINT

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Case 8:13-cv-00499-JDE Document 8 Filed 05/31/13 Page 73 of 13 Page ID #:50

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H. — Any and all other further relief in favor of Defendants/Counterclaim

Plaintiffs as this Court deems just or proper be granted.

DATED: May 31, 2013

RHEMA LAW GROUP, P.C.

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Plaintiffs Pipeline Restoration Plumbing, Inc. et. al.

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DEFENDANTS’ ANSWER AND COUNTERCLAIM
TO FIRST AMENDED COMPLAINT

